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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND

In re:
NC GAS HOUSE GANG LLC,                                    Case No. 23-18766 LSS
                                                          (Chapter 11 Subchapter V)
                         Debtor.

                         PLAN REPORT BY NC GAS HOUSE GANG LLC

          The above-captioned debtor and debtor-in-possession (the “Debtor”) has elected to file this
    case under Subchapter V of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
    Code”).1 The Debtor files this report pursuant to § 1188(c) of the Bankruptcy Code and the Initial
    Scheduling Order entered by this Court.

    1.    Type of Plan of Reorganization. The Debtor intends to pursue the following type of plan
          of reorganization in this case:

                  ____   Consensual      ____     Nonconsensual2       __x_ Undetermined


    2.    Reasons for Type of Plan of Reorganization.

          The plan will provide for the sale of Debtor's baseball operations to raise cash to pay
          creditors. The following issues will need to be resolved for the plan to succeed:

             •   Disposition of Debtor's membership in the Atlantic League of Professional Baseball
                 Teams (the "Atlantic League"). The Atlantic League asserts that this membership
                 was forfeited as the result of a special board meeting conducted on November 13,
                 2023. Debtor contends that such forfeiture (a) was the result of insufficient notice
                 under the Atlantic League's bylaws, as such notice was given on a Sunday in
                 violation of Pennsylvania law and (b) that if the forfeiture was effective it represents
                 a voidable transfer under Sections 544, 547 and 548 of the United States Bankruptcy
                 Code and (c) for other reasons that may be the subject of litigation. In any event, as
                 Debtor does not intend to continue to run a baseball operation Debtor hopes that the
                 Atlantic League will consent to this proposal for the benefit of creditors;

             •   Cure of all defaults identified in the Notice by the City of Gastonia (the "City")
                 delivered to Debtor on November 15, 2023 (the "Default Notice"). Debtor believes
                 it is entitled to cure such defaults at the later of (a) 90 days after the Default Notice

1
  Subchapter V of Chapter 11 (11 U.S.C. §§ 1181-1195) was adopted by the Small Business Reorganization Act of
2019, Pub. L. No. 116-54, and became effective on February 19, 2020.
2
  The term “nonconsensual plan” for purposes of this report means a plan confirmed under § 1191(b) of the
Bankruptcy Code.

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            (as provided by the various agreements between Debtor and the City) or (b) such
            additional time as may be provided the Debtor under Sections 108 and 365 of the
            Bankruptcy Code. In any event, as Debtor does not intend to continue to run a
            baseball operation Debtor hopes that the City will consent to this proposal for the
            benefit of creditors;

        •   Approval of rapid bid/sale procedures to permit a new buyer to operate a full
            schedule of baseball games for the 2024 season. Such procedures would provide for
            the Debtor and any successful purchaser to enter into a sublease for the Stadium on
            terms acceptable to Debtor, buyer and the City and in any event subject to approval
            of this Court;

        •   Such other terms and conditions to enable the sale of Debtor's baseball operations
            in time for a 2024 season;

        •   If such a sale may not be made in time for a full Atlantic League season in 2024,
            Debtor would consent to appointment of a managing agent, subject to consent by
            the Atlantic League and the City and in any event subject to the approval by this
            Court, to supervise the Debtor's baseball operations until a sale may be
            consummated.


3.   Communications with Parties in Interest. The Debtor has had discussions with the
     following parties in interest concerning the Debtor’s plan of reorganization:

     ____   Secured Creditors

     ____   Priority Claimants

     ____   Unsecured Creditors

     ____   Equity Interest Holders

     _x__   The Trustee

     ____   Others; Describe: _________________________________________



4.   Nature of Communications with Parties in Interest.

     The 341(a) meeting was held on January 3, 2024.

     Debtor’s counsel has had multiple conversations with the Chapter 11 trustee and intends to
     pursue a dialog with representatives of both the City and the Atlantic League.


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 5.   Efforts to Formulate Plan of Reorganization.

      Debtor has begun to prepare a Plan of Reorganization.


 6.   Timing for Filing Plan of Reorganization. Does the Debtor intend to file a plan of
      reorganization within the 90-day deadline imposed by § 1189(b) of the Bankruptcy Code?

                     __x__ Yes                       ____   No

      If no is marked, please explain:




 7.   Additional Information.

      None at this time.


Dated: January 4, 2024


                                                            /s/Ronald J. Drescher
                                                            Ronald J. Drescher
                                                            Drescher & Associates, P.A.
                                                            10999 Red Run Blvd. Suite 205
                                                            PMB 224
                                                            Owings Mills, MD 21117
                                                            (410) 484-9000
                                                            rondrescher@drescherlaw.com
                                                            Counsel for Debtor


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 4th day of January, 2024, I served a copy of the
foregoing Debtor’s Plan Report by the Court’s electronic case filing system upon:

Marc E. Albert marc.albert@stinson.com,
porsche.barnes@stinson.com

Ronald J Drescher ecfdrescherlaw@gmail.com,
ron@clegolftour.com,
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mbaum@wtplaw.com,
brent-strickland-3227@ecf.pacerpro.com

US Trustee - Greenbelt USTPRegion04.GB.ECF@USDOJ.GOV

and by first class U.S. mail, postage prepaid, upon all parties in interest as included on the
attached service list.

                                                              /s/Ronald J. Drescher
                                                              Ronald J. Drescher




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USPS FIRST CLASS MAILING RECIPIENTS:
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CASE INFO                                                                         DEBTOR
1LABEL MATRIX FOR LOCAL NOTICING         CITY OF GASTONIA A NORTH CAROLINA        NC GAS HOUSE GANG LLC
NCRS ADDRESS DOWNLOAD                    MUNICIPAL                                9183A CENTRAL AVENUE
CASE 23-18766 LSS                        CO ASHLEY EDWARDS ESQ                    CAPITOL HEIGHTS MD 20743-3806
DISTRICT OF MARYLAND                     PARKER POE ADAMS BERNSTEIN LLP
WED DEC 27 8-41-52 PST 2023              620 SOUTH TRYON STREET SUITE 800
                                         CHARLOTTE NC 28202-1842




ADP INC                                  AMERICAN FURNITURE RENTALS               ATLANTIC LEAGUE OF PROFESSIONAL
PO BOX 842875                            PO BOX 778962                            BASEBALL CLU
BOSTON MA 02284-2875                     CHICAGO IL 60677-0851                    PO BOX 5190
                                                                                  LANCASTER PA 17606-5190




BKK SPORTS                               BENJAMIN BARTILSON                       BLACK TIE BUS CHARTERS INC
3 COURT HOUSE DRIVE                      381 BLAKE RIDGE DR                       3050 RIDGEWOOD RD
CENTRAL ISLIP NY 11722-4605              SCOTT DEPT WV 25560-9393                 WINSTON-SALEM NC 27107-4536




BRADY SALISBURY                          (P)U S SECURITIES AND EXCHANGE           CHUCK STEWART
612 W MAIN AVE                           COMMISSION                               3000 SE OVERBROOK DR
103                                      ATLANTA REG OFFICE AND REORG             PORT ST LUCIE FL 34952-5711
GASTONIA NC 28052-4375                   950 E PACES FERRY RD NE STE 900
                                         ATLANTA GA 30326-1382



                                                                                  EXCLUDE
CINTAS CORP                              (P)COMPTROLLER OF MARYLAND               (D)(P)COMPTROLLER OF MARYLAND
PO BOX 630803                            BANKRUPTCY UNIT                          BANKRUPTCY UNIT
CINCINNATI OH 45263-0803                 301 W PRESTON ST ROOM 409                301 W PRESTON ST ROOM 409
                                         BALTIMORE MD 21201-2383                  BALTIMORE MD 21201-2383




DTELICS                                  DALLAS ELECTRICAL PLUMBING CONTRACTORS   DANIEL E PETERSON
251 WEST MAIN AVE                        IN                                       PARKER POE ADAMS BERNSTEIN LLP
GASTONIA NC 28052-4140                   PO BOX 1592                              620 SOUTH TRYON STREET SUITE 800
                                         GASTONIA NC 28053-1592                   CHARLOTTE NORTH CAROLINA 28202-1842




DAVID L WOODY ESQ                        DAVID MARTIN                             (P)INTERNAL REVENUE SERVICE
10721 WAYFARER RD                        211 MAIDSTONE TRAIL                      CENTRALIZED INSOLVENCY OPERATIONS
GERMANTOWN MD 20876-4266                 CHARLOTTE NC 28211-1787                  PO BOX 7346
                                                                                  PHILADELPHIA PA 19101-7346




DESTINEE CHARLES                         EC SPORTS                                FINE STRATEGIES LLC
1681 CLOUDBURST CIRCLE                   10 IRONGATE DRIVE                        2319 KENMORE AVENUE
LINCOLNTON NC 28092-7194                 SUITE I                                  CHARLOTTE NC 28204-3327
                                         WALDORF MD 20602-2701




FRANKS SPORT SHOP                        GSM SERVICES                             GASTON COUNTY EMS
430 E TREMONT AVE                        PO BOX 12216                             PO BOX 1475
BRONX NY 10457-4292                      GASTONIA NC 28052-0030                   GASTONIA NC 28053-1475
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HOWIES ATHLETIC TAPE                     IRS                                      IAN MCKINNEY
3445 36TH ST SE                          CENTRALIZED INSOLVENCY OPERATION         4810 DARWOOD DRIVE
KENTWOOD MI 49512-2811                   B O BOX 7346                             ORLANDO FL 32812-1620
                                         PHILADELPHIA PA 19101




                                         EXCLUDE
INNOVATE GRAPHICS                        (D)(P)INTERNAL REVENUE SERVICE           IVY REHAB
PO BOX 23240                             CENTRALIZED INSOLVENCY OPERATIONS        1311 MARMARONECK AVE SUITE 140
CHARLOTTE NC 28227-0275                  PO BOX 7346                              WHITE PLAINS NY 10605-5224
                                         PHILADELPHIA PA 19101-7346




JHSPORTS LLC                             L ASHLEY SMITH CITY ATTORNEY             LORAY MILL LOFTS
7435 AVENIDA DEL MAR                     PO BOX 1748                              300 S FIRESTONE ST
SUITE 2801                               GASTONIA NC 28053-1748                   GASTONIA NC 28052-3790
BOCA RATON FL 33433-4878




MGIP LAW                                 MADCAP PRINTING DESIGN                   MARCUS WALDEN
4000 LEGATO RD                           123 BRANCH ST                            4279 S DICKENSON AVE
SUITE 310                                SUITE G                                  FRESNO CA 93706-9319
FAIRFAX VA 22033-2898                    LOWELL NC 28098-2044




MAURO GOZZO                              MORRISE METTS                            NATIVE FIRE CONTROL
36 BITTERSWEET LN                        1968 GAIL ST                             2725 CEDAR TRAIL LN
BERLIN CT 06037-1919                     NEWTON NC 28658-9370                     WINGATE NC 28174-8234




NEW BALANCE ATHLETICS   INC              NORTH CAROLINA DEPARTMENT OF REVENUE     NORTH CAROLINA DEPARTMENT OF REVENUE
PO BOX 415206                            BANKRUPTCY UNIT                          PO BOX 25000
BOSTON MA 02241-5206                     PO BOX 1168                              RALEIGH NC 27640-0100
                                         RALEIGH NC 27602-1168




OTIS ELEVATOR                            OUTDOOR CAP                              PT UNITED
11760 US HWY 1                           1201 MELISSA DR                          460 AMHERST ST
SUITE W600                               BENTONVILLE AR 72712-6654                STE 5
PAM BEACH GARDENS   FL 33408-3029                                                 NASHUA NH 03063-1220




PISGAH AUDIO VIDEO LIGHTING              PRINCE GEORGES COUNTY MARYLAND           RICHARDSON SPORTS
16A NATIONAL AVE                         OFFICE OF FINANCE                        PO BOX 71130
FLETCHER NC 28732-8655                   1301 MCCORMICK DRIVE STE 1100            SPRINGFIELD OR 97475-0183
                                         LARGO MD 20774-5416




SN RADIO LLC                             SECRETARY OF THE TREASURY                SIGMON THEATRICAL
405 NEISLER DRIVE                        15TH AND PENNSYLVANIA AVE   NW           10507 WORSLEY LN
KINGS MOUNTAIN NC 28086-3244             WASHINGTON DC 20220-0001                 CHARLOTTE NC 28269-6901
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SIGN CONNECTION                          SODEXOMAGIC LLC                          SPECTRUM ENTERPRISE
1660 PACOLET COURT                       1 INDEPENDENCE POINT SUITE 305           1900 BLUE CREST LN
GASTONIA NC 28052-9467                   GREENVILLE SC 29615-4540                 SAN ANTONIO TX 78247-4315




STANLEY STEEMER CHARLOTTE                STATE OF MARYLAND DLLR                   STEPHEN PIERCY
1519 CROSS BEAM DRIVE                    DIVISION OF UNEMPLOYMENT INSURANCE       1035 WINDSON BAY LANE
CHARLOTTE NC 28217-2807                  1100 N EUTAW STREET ROOM 401             TEGA CAY SC 29708-8229
                                         BALTIMORE MD 21201-2226




                                         EXCLUDE
TALLENTD MARKETING                       (D)TALLENTD MARKETING                    TATER BATS LLC
PO BOX 3295                              PO BOX 3295                              150 E AURORA ST
SHELBY NC 28151-3295                     SHELBY NC 28151-3295                     UNITE B
                                                                                  WATERBURY CT 06708-2039




EXCLUDE
(U)THE TRENTON MILL LOFTS                TICKETRETURN LLC                         (P)US ATTORNEYS OFFICE FOR THE DISTRICT
INVALID ADDRESS PROVIDED                 PO BOX 241632                            OF MARYLAND
                                         CHARLOTTE NC 28224-1632                  36 S CHARLES STREET FOURTH FLOOR
                                                                                  BALTIMORE MD 21201-3020




US TRUSTEE GREENBELT                     VIRTCHVISUA                              WANDA CARR
6305 IVY LANE SUITE 600                  3120 SOUTH AVE                           6603 CEDAR CLIFF DRIVE
GREENBELT MD 20770-6305                  STE 126                                  CHARLOTTE NC 28216-1984
                                         LACROSSE WI 54601-6720




WASHH                                    ZACK GODLEY                              ZOOMINFO TECHNOLOGIES LLC
2828 QUEEN CITY DRIVE                    216 HILL HAVE RD                         14005 LIVE OAK AVE
SUITE L                                  CHAPIN SC 29036-9715                     IRWINDALE CA 91706-1300
CHARLOTTE NC 28208-2737




IHEART MEDIA                             MARC E ALBERT                            RONALD J DRESCHER
PO BOX 406372                            STINSON LLP                              RONALD J DRESCHER ESQ
ATLANTA GA 30384-6372                    1775 PENNSYLVANIA AVE NW                 10999 RED RUN BLVD
                                         SUITE 800                                PMB 224
                                         WASHINGTON DC 20006-4760                 SUITE 205
                                                                                  OWINGS MILLS MD 21117-3249
